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                    UNITED STATES DISTRICT COURT FOR
                     THE DISTRICT OF MASSACHUSETTS


JOSE MARIA DeCASTRO,
a/k/a CHILLE DeCASTRO,
a/k/a DELETE LAWZ,                           Case No. 1:22-cv-11421-ADB

           Plaintiff and
           Defendant-in-Counterclaim

      v.

JOSHUA ABRAMS a/k/a
ACCOUNTABILITY FOR ALL
and KATE PETER a/k/a
MASSHOLE TROLL MAFIA,

           Defendants and
           Plaintiffs-in-Counterclaim, and

GOOGLE LLC,

           Defendant.


     DECLARATION OF RAQUEL SMALL IN SUPPORT OF DEFENDANT
       GOOGLE LLC’S MOTION AND MEMORANDUM OF REASONS
      TO TRANSFER TO THE NORTHERN DISTRICT OF CALIFORNIA
               OR, IN THE ALTERNATIVE, TO DISMISS
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                          DECLARATION OF RAQUEL SMALL
      I, Raquel Small, do state and declare as follows:
      1.      I am a Program Manager on the YouTube legal team. As part of my role, I have
personal knowledge of YouTube’s Terms of Service, including the facts described below, and,
if called as a witness, could and would testify competently thereto.
      2.      YouTube offers an online video service where users around the world can share
and watch videos and related content. With limited exceptions, YouTube is a free service and
does not charge users to upload or view videos.
      3.       Use of YouTube’s services is governed by a written Terms of Service Agreement
(“TOS” or “Terms”). A true and accurate copy of the current TOS is attached hereto as Exhibit
A. The TOS are also available at <www.youtube.com/t/terms>, on the sidebar of the YouTube
homepage, <www.youtube.com>, and elsewhere throughout the YouTube website. YouTube’s
TOS have been modified from time to time over the years.
      4.      The current version of the TOS, and all past versions of the TOS going back to
February 2009, require that disputes between YouTube and its users arising out of their use of
YouTube be litigated solely in Santa Clara County, California. The current version of the Terms
provides as follows: “All claims arising out of or relating to these terms or the Service will be
governed by California law, except California’s conflict of laws rules, and will be litigated
exclusively in the federal or state courts of Santa Clara County, California, USA. You and
YouTube consent to personal jurisdiction in those courts.” This exact language was included in
the previous three versions of the TOS, and has been effective from December 10, 2019 to the
present.
      5.      Because many millions of users from around the world use YouTube free of
charge each day, the forum-selection clause is necessary to manage the costs of litigation and
reduce the burden to YouTube of litigating all over the world.
      6.      The current version of the TOS, and all past versions of the TOS, provide that
YouTube may modify the Terms over time. Modifications to the Terms only apply going



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forward. The current version of the Terms provides as follows: “We may modify this
Agreement, for example, to reflect changes to our Service or for legal, regulatory, or security
reasons. YouTube will provide reasonable advance notice of any material modifications to this
Agreement and the opportunity to review them, except that modifications addressing newly
available features of the Service or modifications made for legal reasons may be effective
immediately without notice. Modifications to this Agreement will only apply going forward. If
you do not agree to the modified terms, you should remove any Content you have uploaded and
discontinue your use of the Service.”
       7.     Users are able to post content to their own “channels”. In order to create a
YouTube channel, users are required to accept the TOS. Currently, users are informed that “By
tapping Create Channel you agree to YouTube’s Terms of Service.” The words “YouTube’s
Terms of Service” appear in blue font and include a hyperlink to the TOS. Below, there is a blue
button labeled “Create Channel.” By clicking “Create Channel,” users agree to abide by the
TOS.
       8.     In addition, at all times relevant to Plaintiffs’ allegations, each time a user
uploaded a video to YouTube from a desktop web browser, that user was required to click a
button reaffirming their acceptance of and agreement to be bound by the TOS before the video
would be posted to YouTube.
       9.     Based on a review of YouTube’s records pertaining to the channels created and
videos uploaded by Jose DeCastro, the plaintiff in Jose Maria DeCastro v. Joshua Abrams et
al., 1:22-cv-11421-ADB (D. Mass.), he created a YouTube channel on July 28, 2020.
YouTube’s records reflect that in doing so, he affirmatively clicked a button indicating his
acceptance of and agreement to be bound by the TOS (which included his agreement to the
pertinent forum-selection clause).
       10.    YouTube’s records further reflect that Jose DeCastro is a participant in the
YouTube Partner Program, which provides for YouTube to pay him a portion of the revenue
attributable to the videos he uploads to YouTube, conditioned on his agreement to the YouTube



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Pafiner Program 'Ierms. When he joined the program, he agreed to the YouTube Partner

Program Terms, a true and correct copy of r.vhich is attached as Exhibit B. They state in part

that "the YouTube Terms of Service . . . r,vhich may be updated from time to time and are

incorporated herein by reference . . . applfies] to your participation in the YouTube Partner

Program." Ex. B at 1. They further state that "[t]he governing law and dispute resolution

provisions of the YouTube Terms of Service will also apply to these Terms." Id. atZ.



       I declare   under penalty of perjury that the foregoing is true and correct and that this

declaration was executed on May 22,2023, in San Leandro, California.




                                                Raquel Small




                                       I
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                                CERTIFICATE OF SERVICE

       I hereby certify that this document was filed through the District of Massachusetts CM/ECF

system and will be sent electronically to all registered participants as identified on the Notice of

Electronic Filing (“NEF”) and paper copies will be sent to those indicated as non-registered

participants.



Dated: May 23, 2023                           Respectfully submitted,

                                              WILSON SONSINI GOODRICH & ROSATI
                                              Professional Corporation

                                                     /s/ Matthew D. Gorman
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